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 2   TIMOTHY ZINDEL, Bar #158377
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     CRYSTAL RUSSO
 7
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:11-CR-0198 MCE
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   CRYSTAL RUSSO et al.,           )
                                     )
17                  Defendants.      )     Date: March 14, 2013
                                     )     Time: 9:00 a.m.
18   _______________________________ )     Judge: Hon. Morrison C. England
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant, Crystal Russo,
21   through her attorney, Timothy Zindel, and plaintiff, United States of
22   America, through its attorney, Daniel S. McConkie, that the status
23   conference as to defendant Russo, scheduled for March 28, 2013, may be
24   continued to June 13, 2013, at 9:00 a.m.
25        The government has requested additional time to investigate Ms.
26   Russo’s defense to the charges.     Counsel met during the week of March 18
27   to discuss the defense investigation and provide information relative to
28   Ms. Russo’s defense. Both parties expect to continue their investigation
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 1   through May and would like to complete it before further scheduling.               The
 2   parties     therefore   agree   that    the   ends   of   justice   served   by   this
 3   continuance outweigh the best interests of the public and the defendant
 4   in a speedy trial and that time under the Speedy Trial Act should be
 5   excluded through June 13, 2013, pursuant to 18 U.S.C. § 3161(h)(1)(g) and
 6   (h)(7)(a) and (b)(IV).
 7
 8                                             Respectfully submitted,
 9                                             JOSEPH SCHLESINGER
                                               Acting Federal Defender
10
11   Dated:     March 25, 2013                 /s/ T. Zindel
                                               TIMOTHY ZINDEL
12                                             Assistant Federal Defender
                                               Attorney for CRYSTAL RUSSO
13
14                                             BENJAMIN B. WAGNER
                                               United States Attorney
15
16   Dated:     March 25, 2013                 /s/ T. Zindel for D. McConkie
                                               DANIEL S. McCONKIE
17                                             Assistant U.S. Attorney
18
19                                          O R D E R
20         The status conference is continued to June 13, 2013, at 9:00 a.m.
21   The Court finds that the ends of justice to be served by a continuance
22   outweigh the best interests of the public and the defendant in a speedy
23   trial, for the reasons stated above.
24         IT IS SO ORDERED.
25   Date: April 09, 2013
26
                                              __________________________________________
27                                            MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                              UNITED STATES DISTRICT JUDGE
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